     Bruce Locke (#177787)

     Moss & Locke
 2   4354 Town Center Blvd., #114-59
 3   Eldorado Hills, CA 95762
 4   916-719-3194
 5   Attorneys for Sharice Williams
 6                                       UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
 8

 9

10          United States,
                                                            No. 2:15-CR-185 TLN
11                             Plaintiff,

12                  v.                               STIPULATION AND ORDER TO

13          Sharice Williams, et. al,.               CONTINUE THE STATUS CONFERENCE

14                             Defendant.            TO SEPTEMBER 8, 2016

15

16

17

18

19

20          IT IS HEREBY STIPULATED AND AGREED between the defendant, by and through

21   her undersigned defense counsel, and the United States of America, by and through its counsel,

22   Assistant U.S. Attorney Roger Yang, that the status conference presently set for July 28, 2016 at

23   9:30 a.m., should be continued to September 8, 2016 at 9:30 a.m., and that time under the Speedy

24   Trial Act should be excluded from July 28, 2016 through September 8, 2016.

25          The reason for the continuance is that defense counsel needs additional time to conduct
     investigation and review the discovery and discuss the proposed plea agreement with Ms.
26
     Williams and to conduct plea negotiations. The discovery includes several video tapes. In
27

28                                                      1
     addition, the government has recently provided the defense with information concerning a prior
     supervised release violation. The exclusion of time is also necessary to ensure continuity of

 2   counsel. Accordingly, the time between July 28, 2016 and September 8, 2016 should be excluded

 3   from the Speedy Trial calculation pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv)

 4   and Local Code T-4 for defense preparation. The parties stipulate that the ends of justice served
     by granting this continuance outweigh the best interests of the public and the defendants in a
 5
     speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Yang has authorized Mr. Locke to sign this pleading
 6
     for him.
 7

 8          Date: July 25, 2016                          /s/ Bruce Locke
                                                        BRUCE LOCKE
 9                                                      Attorney for Sharice Williams
10

11
            Date: July 25, 2016                          /s/ Bruce Locke
12                                                      For ROGER YANG
                                                        Assistant United States Attorney
13

14

15          IT IS SO ORDERED.
16
            Dated: July 26, 2016                        ________________________
17                                                      UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

27

28                                                      2
